         Case 1:18-cv-07543-LGS Document 26-3 Filed 11/01/18 Page 1 of 6



Aziz – Bearded – Homosexual – In a relationship with an albino blonde.




Ethereal space – Background changes as one enters it, character leaves trails made of projections of
previous frame.
        Case 1:18-cv-07543-LGS Document 26-3 Filed 11/01/18 Page 2 of 6




Homosexual relationship between Aziz (Brown black-bearded) and Maciek (Albino blonde)




Maciek – Albino blonde – Homosexual – in a relationship with a black-bearded man
         Case 1:18-cv-07543-LGS Document 26-3 Filed 11/01/18 Page 3 of 6




Natasha – Long curly orange/red hair




Carter – Botanist – Inside space blue-lit travel chamber filled with floating white dots
         Case 1:18-cv-07543-LGS Document 26-3 Filed 11/01/18 Page 4 of 6




Giant blue-lit tardigrade travelling freely in space with lightening flashes, no spacesuit of any kind




Carter – Botanist - blue crew member uniform
        Case 1:18-cv-07543-LGS Document 26-3 Filed 11/01/18 Page 5 of 6




Dr. Chantal – Medical – white/grey uniform
         Case 1:18-cv-07543-LGS Document 26-3 Filed 11/01/18 Page 6 of 6



Yolanda – Black female with short hair
